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                                                  U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York

                                                     86 Chambers Street
                                                     New York, New York 10007

                                                      July 18, 2024
ByECF
The Honorable Kenneth M. Karas
United States District Judge
The Hon. Charles L. Brieant Jr. Federal Building and United States Courthouse
300 Quarropas Street
White Plains, NY l 060 l
       Re:     Shelby v. Petrucci, et al. , No. 23 Civ. 4315 (KMK)
Dear Judge Karas:

        In the above-referenced action, plaintiff July Justine Shelby ("Plaintiff") has brought
claims under Bivens v. Six Unknown Named Agents of Federal Bureau ofNarcotics, 403 U.S. 388
(1971 ), against nine individual defendants (collectively, "Defendants"). This Office represents six
of those defendants : Alix McLearen, J.C . Petrucci, William Pliler, Milton Washington, Alphonso
Linley, and Bryan Walls. Defendants Drew Hanna, Erik Christensen, and Zakkary Hum have
retained private counsel. I was recently informed that Plaintiff is no longer proceeding pro se in
this matter and is represented by Remy Green, an attorney with Cohen Green PLLC. I write on
behalf of all parties.

        Last week, I spoke with Mx. Green and with counsel for the private defendants regarding
Plaintiff's new representation. Mx. Green has indicated that they intend to review the case and
determine whether Plaintiff will amend the complaint and/or potentially voluntarily dismiss any
claims or defendants. Plaintiff has also informed the Government that Ms. Shelby intends to
pursue an administrative action against the United States pursuant to the requirements set forth in
the Federal Tort Claims Act ("FTCA"). In light of these representations and updates, the parties
respectfully request that the deadline for Plaintiff to amend the complaint and/or voluntarily
dismiss any or all claims or defendants be extended from July 31, 2024, to August 30, 2024, and
that the current August 12, 2024 deadline for Defendants to move to dismiss be vacated. The
parties are also discussing whether there might be an alternative way to address parallel issues that
might be raised if Plaintiff pursues claims brought under the FTCA along with any Bivens claims
that remain (if any) post-amendment. Plaintiff has proposed the possibility of a temporary stay,
dismissal without prejudice and tolling, or something else. At present, no party has made any
commitments and no agreement has been reached.

        In addition, if Plaintiff chooses to amend the Complaint by the proposed August 30
deadline, Defendants respectfully suggest that the Court enter the following schedule, to which
Plaintiff consents: 1


1 Because  Defendants have already filed pre-motion letters setting forth the bases for their
anticipated motions to dismiss (ECF Nos. 52, 53), Defendants respectfully request that they be
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       •    Deadline for Defendants ' Motions to Dismiss: September 27, 2024
       •    Deadline for Plaintiffs Opposition: October 25, 2024
       •    Deadline for Defendants' Replies: November 15, 2024

            We thank the Court for its consideration of these requests and attention to this matter.

                                                    Respectfully,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney

                                           By:      Isl Dana Walsh Kumar
                                                    Dana Walsh Kumar
                                                    Assistant United States Attorney
                                                    Tel.: (212) 637-2741
                                                    Dana. Walsh.Kumar@usdoj .gov


                                                 All requests are granted, including the
cc :                                             proposed briefing schedule should Plaintiff file
                                                 an Amended Complaint.
       ByECF
       Remy Green, Esq.
       Counsel for Plaintiff               tf:d"U~
                                                 7/18/24
       Silvia Serpe, Esq.
       Counsel for Drew Hanna

       Elizabeth Wolstein, Esq.
       Counsel for Zakkary Hurn

       Bertrand Madsen, Esq.
       Counsel for Erik Christensen




excused from Your Honor' s pre-motion letter requirement set forth in the Court' s Individual
Practices II.A.
